   Case 1:06-cr-00079-JMS-KSC            Document 2863        Filed 06/30/14     Page 1 of 8
                                         PageID.66325


                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA, )                     CRIM. NO. 06-00079 JMS/KSC
                             )
          Plaintiff,         )                  ORDER AUTHORIZING DISCLOSURE
                             )                  OF THE AGGREGATE COSTS OF
     vs.                     )                  DEFENSE SERVICES PROVIDED TO
                             )                  DEFENDANT UNDER THE
NAEEM J. WILLIAMS,           )                  CRIMINAL JUSTICE ACT
                             )
          Defendant.         )
____________________________ )

 ORDER AUTHORIZING DISCLOSURE OF THE AGGREGATE COSTS
  OF DEFENSE SERVICES PROVIDED TO DEFENDANT UNDER THE
                  CRIMINAL JUSTICE ACT

                                   I. INTRODUCTION

               During jury deliberations in the selection phase of this action, the

Clerk’s Office received a request from the Honolulu Star-Advertiser seeking

disclosure of the costs and fees for defense services provided to Defendant Naeem

Williams (“Defendant”).1 The court raised this issue with counsel on June 13,

2014, see Doc. No. 2826, and had further discussions with counsel on June 17,

2014, where a reporter for the Star-Advertiser stated that he was seeking the

aggregate amount spent for the defense. On June 17, 2014, Defendant filed an



       1
          After this request, a subsequent request was made for juror-related costs. These costs
will be provided with disclosure of defense-related fees and costs.
   Case 1:06-cr-00079-JMS-KSC        Document 2863       Filed 06/30/14   Page 2 of 8
                                     PageID.66326


Objection to disclosure of this information, Doc. No. 2831, and the government

filed a Response on June 18, 2014, agreeing with Defendant that the information is

not subject to disclosure. Doc. No. 2833. Further discussion with counsel was

held on June 18, 2014. On June 20, 2014, the Star-Advertiser submitted a letter to

the court modifying its request, stating that it requests that the court, at the

conclusion of Defendant’s sentencing hearing, disclose the total dollar amount of

public money spent on his defense. Doc. No. 2839. On June 27, 2014, the jury

returned a verdict that will result in a sentence of life imprisonment rather than the

death penalty. Based on the following, the court finds that the Clerk’s Office may

disclose the aggregate amount paid for defense costs and fees at this time, as

opposed to waiting for the conclusion of Defendant’s sentencing hearing.

                                  II. DISCUSSION

             Two different statutes address disclosure of defense costs. The

Criminal Justice Act (the “CJA”), 18 U.S.C. § 3006A, is directed to ensuring

adequate representation of criminal defendants, and includes various provisions for

the appointment and payment of defense counsel and related defense costs. And

§ 3006A(d)(4)(A) provides that disclosure of amounts paid for defenses costs

“shall be made available to the public by the court upon the court’s approval of the

payment.” See also id. § 3006A(e)(4) (requiring disclosure of fees for services


                                            2
   Case 1:06-cr-00079-JMS-KSC            Document 2863         Filed 06/30/14     Page 3 of 8
                                         PageID.66327


other than counsel). Prior to the end of trial, detailed information contained in

vouchers submitted is to be redacted. Id. § 3006A(d)(4)(B). After trial, the court

may release unredacted versions subject to consideration of the defendant’s Fifth

and Sixth Amendment rights, the attorney-client privilege, the work product

privilege, safety of any person, and any other interest justice may require. Id.

§ 3006A(d)(4)(D). Thus, under the CJA, Congress sought to encourage prompt

disclosure of defense costs and fees, taking into consideration the defendant’s

rights to confidentiality of such information. See also United States v. Gonzales,

150 F.3d 1246, 1264 n.21 (10th Cir. 1998) (discussing how current version of

§ 3006A indicates a “shift toward increased access to the amounts paid out under

the CJA”).

               The second statute, 18 U.S.C. § 3599, is directed specifically to

capital cases, and “grants federal capital defendants and capital habeas petitioners

enhanced rights of representation, in light of what it calls ‘the seriousness of the

possible penalty and . . . the unique and complex nature of the litigation.’” Martel

v. Clair, 132 S. Ct. 1276, 1284-85 (2012) (quoting 18 U.S.C. § 3599(d) (2006

ed.)).2 Compared to § 3006A, § 3599 (1) requires that attorneys have more legal


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         Congress enacted “§ 3599 to govern appointment of counsel in capital cases, thus
displacing § 3006A for persons facing execution (but retaining that section for all others).”
Martel, 132 S. Ct. at 1284 (citations omitted).

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   Case 1:06-cr-00079-JMS-KSC        Document 2863      Filed 06/30/14    Page 4 of 8
                                     PageID.66328


experience, id. § 3599(b)-(d); (2) authorizes higher rates of compensation and more

money for investigative and expert services, id. § 3599(g)(1) & (2); and

(3) provides habeas petitioners facing execution counsel as a matter of right. Id.

§ 3599(a)(2). Beyond these “enhanced rights of representation,” § 3599(g)(3) also

includes a provision regarding disclosure of fees and costs, providing that “[t]he

amounts paid under this paragraph for services in any case shall be disclosed to the

public, after the disposition of the petition.” The parties, and the court, agree that

the term “petition” refers to a habeas petition.

             The parties construe § 3599(g)(3)’s language that the amounts paid

“shall” be disclosed after disposition of the petition as setting the earliest possible

date for disclosure. In other words, the parties contend that disclosure of defense

fees and costs in a capital case may not be disclosed until after disposition of a

habeas petition, which may occur several years after a verdict, if at all. This

interpretation appears consistent with the Guide to Judiciary Policy, Guidelines for

Administering the CJA and Related Statutes (“CJA Guidelines”), Vol. 7A,

§ 530(b), which provide that “[f]or capital cases, disclosure must be after the

disposition of the petition.” And the CJA Guidelines provide this construction

even though they also recognize that public disclosure of this information should

generally be made. Id. § 520.40.


                                           4
   Case 1:06-cr-00079-JMS-KSC       Document 2863      Filed 06/30/14   Page 5 of 8
                                    PageID.66329


             Neither the parties nor the CJA Guidelines attempts to reconcile

§ 3599(g)(3)’s facially limited disclosure with the CJA’s clear presumption in

favor of early disclosure. Nor do the parties or the CJA Guidelines offer any

explanation as to why Congress would create such a restrictive rule for capital

cases in contrast to the mandate for disclosure in all other criminal cases. Indeed,

although the stakes in a capital case are much higher than other criminal actions, so

too is the public interest in disclosure, which to be meaningful must be timely as

opposed to many years after a verdict when a defendant has exhausted his direct

appeals and § 2255 petition.

             Even more troubling are the practical implications of the parties’

interpretation -- if § 3599(g)(3) is construed to preclude any disclosure until after

disposition of a § 2255 petition, then disclosure would never occur in cases in

which a habeas petition is not filed. The court refuses to interpret § 3599(g)(3) in

such absurd manner. See Haggar Co. v. Helvering, 308 U.S. 389, 394 (1940) (“A

literal reading of [statutes] which would lead to absurd results is to be avoided

when they can be given a reasonable application consistent with their words and

with the legislative purpose.”); Pub. Citizen v. U.S. Dept. of Justice, 491 U.S. 440,

470 (1989) (Kennedy, J., concurring) (describing the absurd results canon as a

“narrow exception to our normal rule of statutory construction” that “demonstrates


                                           5
   Case 1:06-cr-00079-JMS-KSC         Document 2863       Filed 06/30/14     Page 6 of 8
                                      PageID.66330


a respect for the coequal Legislative Branch, which we assume would not act in an

absurd way”); Hurston v. Dir., OWCP, 989 F.2d 1547, 1554 (9th Cir. 1993) (“We

are required by traditional canons of statutory construction to avoid a literal

interpretation of a statute that leads to an absurd result or that is contrary to

Congress’ constitutional power.”).

              And the plain language of § 3599(g)(3) can be construed to avoid this

absurd result and remain faithful to Congress’ recognition in the CJA of the

importance of public disclosure.3 Specifically, rather than construing

§ 3599(g)(3)’s requirement that the court “shall” disclose this information after

disposition of the petition as setting the earliest date by which the court may

disclose this information, this language just as easily may be construed as setting

the latest date by which the court must disclose this information. In other words,

§ 3599(g)(3) provides that the court must make this disclosure after disposition of

the habeas petition, and leaves silent whether the court may exercise its discretion

in disclosing such information earlier. The court therefore finds that § 3599(g)(3)

does not preclude disclosure of the amounts of defense fees and costs before

disposition of any petition that might be filed in this case.



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         Martel makes clear that § 3006A standards can be borrowed to provide meaningful
guidance to § 3599. Martel, 132 S. Ct. at 1285.

                                             6
      Case 1:06-cr-00079-JMS-KSC    Document 2863      Filed 06/30/14   Page 7 of 8
                                    PageID.66331


              Turning to the precise request at hand, the Star-Advertiser seeks

disclosure, at the conclusion of Defendant’s sentencing, of the aggregate amount

spent for the defense in this action. The Star-Advertiser seeks disclosure at the

conclusion of Defendant’s sentencing hearing (as opposed to now after the verdict

has been reached) in light of Gonzales, which in a non-capital, multi-defendant

case affirmed the trial court’s decision to release the total amount paid to each

defendant’s attorney only after the last defendant was sentenced. 150 F.3d at 1264.

Gonzales delayed disclosure because counsel for these multiple defendants were

working together to avoid duplicative efforts such that disclosure prior to the last

defendant’s sentencing would prejudice that defendant by causing him to “reveal

his defense.” Id. (quoting H.R. Rep. No. 88-864 (1963), reprinted in 1964

U.S.C.C.A.N. 2990, 2990). No such concerns exist in this case, particularly where

the jury has not imposed the death penalty. Rather, the court finds that disclosure

of the aggregate amount disbursed by the Clerk’s Office at this time will not

prejudice Defendant -- trial has ended such that there is no concern that disclosing

this amount would cause Defendant to reveal his defense.

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                                          7
   Case 1:06-cr-00079-JMS-KSC         Document 2863       Filed 06/30/14     Page 8 of 8
                                      PageID.66332


                                  III. CONCLUSION

              The court GRANTS the Star-Advertiser’s request for disclosure.

Because the court finds that disclosure at this time will not prejudice Defendant,

however, the court directs the Clerk’s Office to make publicly available the total

amount of payments made to date for Defendant’s defense in this action at this

time, as opposed to after sentencing as requested.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, June 30, 2014.




                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          United States District Judge




United States v. Williams, Cr. No. 06-00079 JMS/KSC, Order Authorizing Disclosure of the
Aggregate Costs of Defense Services Provided to Defendant under the Criminal Justice Act



                                             8
